          Case 1:21-cr-00581-TFH Document 1-1 Filed 07/21/21 Page 1 of 7




                                   STATEMENT OF FACTS

        1.       Your affiant, Michelle E. Cammack, is a special agent with the Federal Bureau of
Investigation, currently tasked with investigating criminal activity in and around the Capitol grounds
on January 6, 2021. I am authorized by law or by a Government agency to engage in or supervise
the prevention, detention, investigation, or prosecution of a violation of Federal criminal laws.

        2.     The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by
U.S. CapitolPolice. Only authorized people with appropriate identification were allowed access
inside the U.S.Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed
to members ofthe public.

        3.     On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate weremeeting in separate chambers of the United States Capitol to certify the vote count of
the ElectoralCollege of the 2020 Presidential Election, which had taken place on November 3,
2020. The jointsession began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30
p.m., the House and Senate adjourned to separate chambers to resolve a particular objection. Vice
PresidentMike Pence was present and presiding, first in the joint session, and then in the Senate
chamber.

       4.     As the proceedings continued in both the House and the Senate, and with Vice
President Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol.As noted above, temporary and permanent barricades were in place around the exterior of
the U.S.Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd
away from the Capitol building and the proceedings underway inside.

        5.     At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Policeattempted to maintain order and keep the crowd from entering the Capitol; however,
shortly around2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by
breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd
encouragedand assisted those acts.

       6.      Shortly thereafter, at approximately 2:20 p.m. members of the United States House
of Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       7.     During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
         Case 1:21-cr-00581-TFH Document 1-1 Filed 07/21/21 Page 2 of 7




violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                              Facts Specific to Jacob Kyle Wiedrich

       8.      Following the January 6, 2021 attack on the Capitol, your affiant received and
reviewed multiple tips submitted by members of the public. On January 12, 2021, law enforcement
received information that Jacob Kyle Wiedrich (“WIEDRICH”) was inside the U.S. Capitol
building.

        9.    Upon receiving this information, FBI compared a known image of WIEDRICH
obtained from the Utah State Department of Motor Vehicles to images and surveillance footage
obtained by law enforcement at and around the U.S. Capitol on January 6, 2021. By comparing
this photograph to the surveillance footage, your affiant believes that the person is WIEDRICH.

       10.    Review of videos received from the Utah Statewide Information and Analysis
Center (SIAC) indicates they were posted on the Snapchat account "kingbuddha27", with the
vanity name "Jacob Weed."




               a. The first video shows a male individual wearing a red "Make America Great
                  Again" (MAGA) hat and a t-shirt with a partial picture of the Space
                  Shuttle. The male individual states that he is going to describe the difference
                  between what "we" did yesterday and "Black Lives Matter" riots from the
                  previous year. The male also states, "we marched to the Capitol, broke a few
                  windows, but we made a statement that we won't put up with this fraud - the
                  election of 2020." For context, it is clear the male individual is referring to the
                  riot at the US Capitol, as the male makes special reference to Ashli Babbitt
                  being shot.
         Case 1:21-cr-00581-TFH Document 1-1 Filed 07/21/21 Page 3 of 7




              b. The second video shows the male individual, wearing a red MAGA hat,
                 sunglasses, a dark jacket, a tan or orange sweatshirt and a black mask with an
                 exhaust valve near the Washington Monument, amongst a large crowd of
                 people - this appears to be the Trump rally at the Ellipse on 06 January
                 2021. The male individual moves with the crowd towards the US Capitol and
                 is shown on the Capitol grounds. The male individual is shown saying "it's
                 wartime!" The male individual is verbally combative with law enforcement
                 attempting to maintain security; at one point, the male individual complains of
                 being shot with rubber bullets and tear gassed. As the mob moves closer to the
                 Capitol building, the male yells "we're not done!" and "Charge! Charge the
                 motherfucker!" to the mob. The male also screams "take it back!" At one point,
                 the male screams "we ride for Trump, we die for Trump!" The male moves
                 close to an open window and begins screaming at law enforcement inside the
                 Capitol building. Eventually, the video shows the interior of the Capitol
                 building, indicating the male has entered the building with others.

       11.     The U.S. Capitol has closed-circuit television (CCTV) cameras covering the U.S.
Capitol. Footage from January 6, 2021 was reviewed by law enforcement officers and your affiant
believes WIEDRICH was captured by these cameras inside the Capitol.

       12.     Capitol CCT Video labeled U.S. 0102USCS01SenateWingDoorNearS139
captured the following on January 6, 2021 at approximately 2:00pm to 3:00pm eastern standard
time:

              a. This camera faces an exterior door and two windows opening to the exterior of
                 the U.S. Capitol building. Prior to the video timeframe, the door and windows
                 were breached by a mob from the outside: The United States Capitol Police
                 (“USCP”) sealed the breach with a barricade of officers and furniture. The
                 crowd can be seen outside the windows and door. WIEDRICH can be seen
Case 1:21-cr-00581-TFH Document 1-1 Filed 07/21/21 Page 4 of 7




       yelling at USCP officers through a window next to the exterior door.
       WIEDRICH is seen utilizing a cell phone just outside the window of the U.S.
       Capitol.




    b. Eventually, a mob of persons physically pushes through the barricaded USCP
       officers and breaches the door for a second time, at approximately 1448 hours;
       WIEDRICH can be seen at the back of this mob as they push their way through
       the officers’ barricade. WIEDRICH enters the Capitol at this point and walks
       around the corridor as persons flood in from the exterior.
Case 1:21-cr-00581-TFH Document 1-1 Filed 07/21/21 Page 5 of 7
         Case 1:21-cr-00581-TFH Document 1-1 Filed 07/21/21 Page 6 of 7




              c. Once inside, WIEDRICH screams at and taunts USCP officers on the perimeter
                 of the mob for several minutes; at one point, WIEDRICH is so confrontational
                 that another member of the mob physically restrains him. WIEDRICH
                 continues to walk around the corridor before moving deeper into the U.S.
                 Capitol by proceeding down a hallway known to lead towards the House wing
                 of the building.




              d. WIEDRICH's actions on the video are in contradiction to what he told the FBI
                 in an interview, in which he minimized his participation and claimed he only
                 entered approximately 10 feet inside the exterior door before turning around
                 and leaving.

        13.    On January 16, 2021, WIEDRICH was interviewed by FBI agents. WIEDRICH
admitted to being in Washington, D.C., being on the U.S. Capitol grounds, and entering the US
Capitol. WIEDRICH informed the agents he entered with a large group through the “left-side
entrance.” WIEDRICH stated although police were present, there was no resistance to the crowd
entering the building and WIEDRICH observed no property damage (window breaking, etc.) or
violent confrontation with the law enforcement.

       14.    After interviewing WIEDRICH, he disclosed that he flew to Washington, D.C.
alone on January 5, 2021, arriving January 6, and returned January 7, 2021.

       15.     After interviewing WIEDRICH and comparing his physical characteristics to the
individual captured on video from inside the Capitol, your affiant believes that WIEDRICH is the
same person captured in the videos.
         Case 1:21-cr-00581-TFH Document 1-1 Filed 07/21/21 Page 7 of 7




                                  Statement of Probable Cause

        16.     Based on the foregoing, your affiant submits that there is probable cause to believe
that JACOB KYLE WIEDRICH violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime
to (1) knowingly enter or remain in any restricted building or grounds without lawful authority to
do; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        17.     Your affiant submits there is also probable cause to believe that JACOB KYLE
WIEDRICH violated 40 U.S.C. § 5104(e)(2)(D) & (G), which makes it a crime to willfully and
knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol
Buildings.




                                                                   _________________________
                                                                            Michelle E. Cammack
                                                                                   Special Agent
                                                                   Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 21st day of July 2021.
                                                                               2021.07.21
                                                                               19:45:10 -04'00'
                                                                            ZIA M. FARUQUI
                                                                    U.S. MAGISTRATE JUDGE
